            Case 2:19-cv-00264-JFC Document 11 Filed 04/29/19 Page 1 of 4



                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                                  :
 REBECCA GOTTSCHALK,                              :
                                                  :    CIVIL ACTION
                 Plaintiff,                       :
                                                  :    No. 2:19-cv-00264-JFC
         v.                                       :
                                                  :
 CREDIT ONE BANK, N.A.,                           :
                                                  :
                 Defendant.                       :
                                                  :



       JOINT STIPULATION TO STAY PENDING COMPLETION OF ARBITRATION


       Defendant Credit One Bank, N.A. (“Defendant”) and Plaintiff Rebecca Gottshalk

(“Plaintiff”) (collectively, the “Parties”), by and through undersigned counsel, hereby stipulate and

agree as follows:

       1.      The Parties are subject to a contractual agreement to submit the claims in Plaintiff’s

Complaint (Dkt. 1) to private binding arbitration.

       2.      The Parties hereby agree to stay the instant proceedings and to proceed through

private binding arbitration.

       3.      The Parties hereby jointly request that this Court stay these proceedings in their

entirety until the arbitration is completed.
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IT IS SO STIPULATED.




By:   /s/ Alla Gulchina                 By:   /s/ Jonathan M. Marmo
      Alla Gulchina, Esq.                     Jonathan M. Marmo, Esquire
      PRICE LAW GROUP, APC                    REED SMITH, LLP
      Attorney for Plaintiff,                 Attorney for Defendant,
      Rebecca Gottshalk                       Credit One Bank, N.A.
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                                :
                                                :
 REBECCA GOTTSCHALK,                            :     CIVIL ACTION
                                                :
                Plaintiff,                      :     No. 2:19-cv-00264-JFC
                                                :
        v.                                      :
                                                :
 CREDIT ONE BANK, N.A.,                         :
                                                :
                Defendant.                      :




                                CERTIFICATE OF SERVICE

       I, Jonathan Marmo, hereby certify that a true and correct copy of the foregoing Joint

Stipulation to Stay Pending Completion of Arbitration is being electronically filed this Twenty

Ninth day of April 2019, and is being served upon and available for viewing and downloading

from the Court’s Electronic Case Files upon Plaintiff’s counsel of record, addressed as follows:

                              Alla A. Gulchina
                              Price Law Group APC
                              Hoboken 86 Hudson Street
                              Hoboken, NJ 07030
                              818-995-4540
                              Fax: 818-995-4540
                              Email: Alla@pricelawgroup.com

                                                    /s/ Jonathan M. Marmo
                                                    Jonathan M. Marmo


Dated: April 29, 2019
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                                   :
 REBECCA GOTTSCHALK,                               :
                                                   :     CIVIL ACTION
                 Plaintiff,                        :
                                                   :     No. 2:19-cv-00264-JFC
         v.                                        :
                                                   :
 CREDIT ONE BANK, N.A.,                            :
                                                   :
                 Defendant.                        :
                                                   :


                                              ORDER


       AND NOW, this _____ day of ____ 2019, upon consideration of the parties’ Joint

Stipulation to Stay Pending Completion of Arbitration, it is hereby ORDERED and DECREED

that this action is stayed in its entirety pending completion of arbitration.




                                                       BY THE COURT




                                                       Honorable Joy Flowers Conti
                                                       United States District Court
